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                                                                                                             OCT 2 3 20W
                             United States^ District
                                            ^
                                                     Court SOUTHERN
                                                             clerk, u.s.DISTRICT
                                                                          district court
                                                                                 OF ILLINOIS
                                                         for the                                             BENTON OFFICE

                                               Southern District of Illinois

                          Sia.U^'^B-nii535
                                                                   Case Number:
                                                                                         (Qerk's Office will provide)


                    PlainHff/Petitioner(s)                     ^ CIVIL RIGHTS COMPLAINT
                              V.                                   pursuantto42U.S.C. §1983 (Slate Prisoner)
                                                                   •   CIVIL RIGHTS COMPLAINT
                                                                   pursuantto 28U.S.C. §1331 (Federal Prisoner)
         ciAAffC Ujlrfiao^h>r\
                                                                   • CIVIL COMPLAINT
  C\av\ Vjfl.U5                                                    pursuant to the FederalTort Qaims Act,
      Atf\n^t/a   ( irnir>
         J         Defmdant/Respondent(s)
                   Defendu                                         28 U.S.C §§1346,2671-2680, or other law

                                                                              SCANNiED AT MENARD and E-maiied
                                                                             /O-jLl-tW     hv/WT-         /0 7 pages
 I.          JURISDICTION                                                       data           !nittal«    No.


             Plaintiff:                      tvi. StXwVVv '                              ^ 6'n'^535
                                                                                           t2-<


             A.      Plaintiff's mailing address, register number, and present place of
                     confinement                           Coirf£.C-UoAa\ CtrvVe/
                                             ?.0 Box lOOO
                                             KA.£Aa*'dL» \L. \od3-5^

             Defendant #1:
                                                                                             ItA Us C^dcXCiS
             B.      Defendant_ ^albAdbifg.      (a)
                                                                         (^Oii\ rxLly/
                                                         (Name of First Defendant)
                                                                                                          employed as
                      pKec^oir oT -Virv^ XUtiootS Ox-parVifvTe.-tV of Coi^fccAxcns
                                                 (b)            (Position/Title)

                     with ClI.O O C , (301 rof\CDic(!lia C-P ,
                                                 (c)     (Employer's Name and Address)

                                               t/l? /                  s I

                     Atthe time the claim(s) alleged this complaint arose, w^DefendaUt #1
                     employed by the state, local, or federal government? J3^es                              • No
                     If your answer is YES, briefly explain: EftADlovffifL b\j AWc S^aXz. c,^
                      "XVViADis as -UTe, OireoUir of                                     HUvaonS Ocpar-V-imen-V
                      Of Cx:>r<l.cX\6ns .

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Dr. fuen-t-es,
Or. (vlvooabasi,
Case 3:14-cv-01150-SMY-RJD Document 1 Filed 10/23/14 Page 3 of 29 Page ID #3




      Defendant #2:

                                                                                  is employed as
       C.




                      \AJoirJ^fi^ of                        r^.rfg.oKoAa\—CeMtAT..
                                               (Position/Title)

                        -r.r>.D.6 , nU                                 sA-.
                                       (Employer's Name and Address)
                        CUes^pf. ^U\ools.

                   At the dmebythetheclaim(s)
                   employed                    alleged
                                       slate, local,    in (his complaint
                                                     or federal           arose, g^YesDefentot
                                                                 government?              DNo#2
                   If you answer is YES, briefly explain;
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                    \lia/dia of (\^£nac£^l CocceAiDaoX CMn\ror


         Additional Defendant(s) (if any):

            D.      Using the cufline setforth above, identify any additional Defendant(s).
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   K.u^                                               CksV. :3:iUtAOt5,
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                                                                                                          (fe)



II.       PREVIOUS LAWSUITS

          A. Have you begunany other lawsuits instate or fe^ral court
                     yourimprisonmeiit?

          B.         If vour answer to "A" is YES, describe each lawsuit in the space below, h
                     there is more than one lawsuit, you must describe the additional lawsmte
                     on another sheetof paper using the same outline. Failure to comply with
                               p.n.n.ion mav r^^idt in suWian^ deuial of your complamt
                     1.          Pajti6S to previous lawsuits:
                                 Plaintiff(s):                   SwViItVi

                                 Defendant(s):               CoUfttu SW-ififf V(e.& (VAc


                      2           Court (if federal court, name of the d^trict; if state court, name of
                                  thecounty): U.S OtS^rncX                         S- Difi^bor/i
                                                 CKloJ^j ILi \ffDhoA
                      3.          Docket number: QS'Ca'DiO'65
                      4.          Name of Judge to whom case was assigned; tfOAti 6. (aO-tTSClrlALL
                      5.          Type of case (for example: Was it ahabeas corpus or civil rights
                                  action?):                                   put'SU/aoV^ ifL U.S.C

                      6.          Disposition of case (for example: Was the case dismissed? Was it
                                  appealed? Is it still pending?): S£ meoV


                       7.          Approximate date offiling lawsuit H" \ "1^)05
                          8.       Approximate date of disposition: Atpfi ^ IDCH




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          m.        GRIEVANCE PROCEDURE

                    A. Is there aprisoner grievance procedure inthe institution?^Yes ONo
                    B.         Did you present the facts relating to your complaintin               ^
                               grievance procedture?

                    C.         If your answer is YES,                                                       ,
                               1.       .What steps did you take? Oki S-lO-iA T PClZSOiJAlLM
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                               2.        What was the result?                   CDUS^^^UbL /C.ftAATWV.^ TDlO «no6"
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                     D.        Ifyour answer isNO, explain why not


                     E.         If there is no prisoner grievance procedrue in the institution, did you
                                complain to prison authorities?                              ^        ^
                     F.         If your answer is YES,
                                1.     What steps did you take?



                                2.        What was the result?




                         G.         Ifyour answer is NO, explain why not

                         H.         Attach copies of yovu request for an administrative remedy and any
                                    response you received. If you cannot do so, explain why not




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       IV.      STATEMENT OF CLAIM

                A.          State here, as briefly as possible, when, where, how, and by whom you feel
                            your constitutionalrights were violated. Do notinclude legal arguments of
                            citations. If you wish to present legal arguments or citations, file aseparate
                            memorandum of law. If you intend to allege a number of related claims,
                            number and setforth each claim in a separate paragraph. Ifyour claims
                            relate to prison disciplinary proceedings, attach copies of the disaplinary
                            charges and any disciplinary hearing summary as exhibits. You should also
                            attadi any relevant supporting documentation.


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 V.        REQUEST FOR RELIEF

           State exactly what you want this court to do for you. If you are astate or federal
            prisoner and seekreliefwhichaffects thefactordurationofyourimprisonment(for
            example: illegal detention, restoration of good time, expungement of records, or
            parole), you must file your claim on ahabeas corpus form, pursuant to 28 U.S.C.
            §§ 2241,2254, or 2255. Copies of these forms are available from the clerk soffice.
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              DFCT ARATION UNDER FFDF.RALRUT.E OF CIVIL PROCEDURE 11

  Icertify to the best of my knowledge, information, and behef, that this complaint is in full
  comphance with Rule 11(a) and 11(b) of the Federal Rules of Civil Procedure. The
  undersigned also recognizes that failure to comply with Rule 11 may result in sanctions.



  Simiednn:                       " Q-Q l4                                   k)
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                                         Signature of Attorney (if any)




      (Rev. 7/2010)
